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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NEW YORK



 IN RE PAYMENT CARD                      Case No. 05-MD-01720 (MKB) (JO)
 INTERCHANGE FEE
 AND
 MERCHANT DISCOUNT
 ANTITRUST LITIGATION



     PROPOSED INTERVENORS, JACK RABBIT, LLC, AND 280 STATION LLC
      (D/B/A/ COWBOYS), RENEWED MOTION FOR LEAVE TO INTERVENE
       AND MEMORANDUM IN SUPPORT PURSUANT TO FED. R. CIV. P. 24
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                            RENEWED MOTION TO INTERVENE

        Proposed Intervenors, Jack Rabbit, LLC, and 280 Station LLC (d/b/a/ Cowboys),

 ("Proposed Intervenors") are Class Members who, all times during the January 1, 2004 to January

 25, 2019 Class Period, ("the Class Period") were Retail Gas Stations which accepted Visa and

 MasterCard Payment Cards from customers for payment at the gas pumps, and in their respective

 convenience stores. Jack W. Kidd (“Mr. Kidd”) is the managing member of both the Jack Rabbit

 LLC, and the 280 Station LLC (d/b/a Cowboys). In his capacity as the managing member of both

 LLCs, Mr. Kidd operates both Retail Gas Stations.

        Under Mr. Kidd’s management the Proposed Intervenors: did an estimated $36 million in

 Visa and MasterCard Payment Card retail sales during the Class Period; and paid the entire

 Interchange Fee and the Merchant Discount Fee on those retail Payment Card sales - as a portion

 of the costs included in their Cost-Plus contracts with their Oil Distributors.

        During the Class Period the Retail Gas Stations/ Proposed Intervenors were Cost-Plus

 Direct Purchasers under Illinois Brick's Cost-Plus exception to the Indirect Purchaser rule1. i.e.,

 during the Class Period, their Oil Distributors provided products and services, including the

 processing of all of the Visa and MasterCard Payment Card transactions at the Proposed

        1
           “But this Court in Hanover Shoe indicated the narrow scope it intended for any
 exception to its rule barring pass-on defenses by citing, as the only example of a situation where
 the defense might be permitted, a preexisting cost-plus contract. In such a situation, the
 purchaser is insulated from any decrease in its sales as a result of attempting to pass on the
 overcharge, because its customer is committed to buying a fixed quantity regardless of price.
 The effect of the overcharge is essentially determined in advance, without reference to the
 interaction of supply and demand that complicates the determination in the general case. The
 competitive bidding process by which the concrete block involved in this case was incorporated
 into masonry structures and then into entire buildings can hardly be said to circumvent complex
 market interactions as would a cost-plus contract. Ill. Brick Co. v. Illinois, 431 U.S. 720 at 736,
 97 S. Ct. 2061at 2069 (1977). (emphasis added)

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 Intervenors’ Retail Gas Stations, at the gas pumps, and inside the convenience stores, on a

 Cost-Plus basis. And, during the Class Period, irrespective of whether the Oil Distributors, or a

 third party Payment Card processor on the Oil Distributer's behalf, processed Retail Gas Stations

 Visa and MasterCard Payment Card transactions, the Proposed Intervenors' paid the Interchange

 Fee and the Merchant Discount Fee - as a portion of the costs included in their Cost-Plus

 contracts with their Oil Distributors.

        During the Class Period, as the direct and proximate result of their Cost-Plus contracts

 with their Oil Distributors, the Proposed Intervenors suffered concrete injury and harm because,

 the Interchange Fee and the Merchant Discount Fee on the Proposed Intervenors' estimated $36

 million in Visa and MasterCard Payment Card retail sales, were costs included in their Cost-Plus

 contracts with their Oil Distributors.

        During the Class Period, as the direct and proximate result of their Cost-Plus contracts

 with the Proposed Intervenors, the Oil Distributors had no concrete injury or harm because - both

 the Interchange Fee and the Merchant Discount Fee paid on the Proposed Intervenors' estimated

 $36 million in Visa and MasterCard Payment Cards retail sales during the Class Period were one

 of the included costs paid by both Retail Gas Stations to their Oil Distributors.

        Furthermore, on information and belief, pursuant to the industry standard, during the

 Class Period, all of the Oil Distributors entered into Cost-Plus contracts with all the Retail Gas

 Stations Owners in the United States who accepted any Visa-Branded Cards and/or

 MasterCard-Branded Cards. And those Cost-Plus contracts included the Interchange Fee and the

 Merchant Discount Fee as costs to be paid by the Retail Gas Stations to the Oil Distributers Thus,

 at all times during the Class Period, no Oil Distributor suffered concrete injury or harm from any


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 Visa and MasterCard Payment Card transaction, at any Retail Gas Station.

        Mr. Kidd's Declaration Pursuant to 28 U.S.C. § 1746, attached hereto and incorporated

 herein as Exhibit A, confirms the factual allegations of the preceding paragraphs under penalty of

 perjury.

        Class Counsel are inviting constitutional error by arguing that this Court can rely on the

 business records of the Visa and MasterCard Defendants, compiled during the Class Period, to

 determine who was damaged by the Defendants2. Error because: at all times during the Class

 Period, the Visa and MasterCard Defendants3 were without knowledge of the existence of the Oil

 Distributors Cost-Plus contracts with the Proposed Intervenors, and all other Retail Gas Stations

 Owners in the United States; or that those Cost-Plus contracts included both the Interchange Fee

 and the Merchant Discount Fee as one of the included costs paid on a Cost-Plus basis by the

 Proposed Intervenors, and all other Retail Gas Stations Owners in the United States, to the Oil



        2
          THE COURT [responding to Mr. Wildfang]: No, but even your earlier statement when
 you seemed to suggest a position that I know defendants have taken that in fact the suppliers or
 distributors are really the ones with the claim here, which is a question I had for defendants, who
 I would like to hear from them as to why they believe that, but you've now stated on the record
 why the evidence before the Court or at least before you, I assume it's in the record somewhere,
 suggests that through the processing system it appears that the suppliers or the distributors are the
 ones with the claim. Fairness Hearing Transcript (“FHT”), page 66, lines 9-18
        3
           MR. GALLO: My opinion in that case would be that it's whoever directly pays the fee
 to the acquirer. That's what I believe the planned administration says fairly read.
 I don't think we need to get into direct and indirect who has antitrust standing.
          THE COURT: That's kind of where we are, that's what the parties are fighting over.
 The suppliers are saying we made the payment, right, and so ultimately even if a Jack Rabbit paid
 it subsequently, it sounds like you're saying they don't have a claim.
          MR. GALLO: I agree that it's the first person, the person that paid the fee in the first
 instance, that's true as a made of what the plan of administration says. And I think it's also true
 as a matter of federal antitrust law. It's the person that paid directly that has the claim. I think
 both of those things are true. FHT, page 91, lines 4-20

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 Distributors. To date neither Class Counsel or the Defendants have produced a single document

 thet refutes the Proposed Intervenors legal position regarding Retail Gas stations Cost-Plus

 contracts.

        Class Counsel are also inviting constitutional error by arguing that the constitutional

 issues with this settlement can be solved by a special master making individual claim decisions.

 Class Counsel is wrong. The constitution requires that each and every class member have Article

 III standing. "Every class member must have Article III standing in order to recover individual

 damages. ‘Article III does not give federal courts the power to order relief to any uninjured

 plaintiff, class action or not.'" Transunion LLC v. Ramirez, 141 S. Ct. 2190 (2021) quoting from

 Tyson Foods, Inc. v. Bouaphakeo, 577 U. S. 442, 466, 136 S. Ct. 1036, 194 L. Ed. 2d 124 (2016).

 As discussed at the Fairness Hearing, the question of standing is a legal issue4.

        A special master can not make a putative class members lack of Article III standing

 problem go away. Article III standing requires a plaintiff or class member to have suffered

 concert harm and injury. At all times during the Class Period, the Proposed Intervenors, and all

 the other Retail Gas Stations Owners in the United States, suffered concrete injury and harm as a

 result of their Cost-Plus contracts with their Oil Distributers. Thus, as between the Proposed

 Intervenors and all other Retail Gas Stations Owners in the United States, and their Oil


        4
           MR. BACHARACH: My name is Albert Bacharach I represent one client who has two
 LLCs, one of which sells at the merchant level branded gasoline and one that sells unbranded
 gasoline. And my client, rather than the oil distributor, has Article III standing because my client
 actually paid the antitrust interchange fees and his oil suppliers didn't.
         THE COURT: So you're arguing this is a legal issue.
         MR. BACHARACH: It is, in fact, a legal issue that the Court can --
         THE COURT: So why hasn't anyone made a motion for the Court to decide this as a
 legal issue?
         MR. BACHARACH: I don't know, your Honor. FHT, page 15, lines 3-15

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 Distributors, only the Retail Gas Stations Owners, such as the Proposed Intervenors - have

 Article III standing - and the right to recover individual damages from this class action

 settlement. Only the Proposed Intervenors and all other Retail Gas Stations Owners in the United

 States have suffered concrete injury and harm, as required by the Supreme Court.

        As class members with Article III standing, the Proposed Intervenors move to intervene

 to ensure that all named plaintiffs, satisfy the constitutional concrete injury-in-fact requirement.

        As the Court is aware: even when, as in this matter, a statute grants a person a statutory

 right, "Article III standing requires a concrete injury even in the context of a statutory violation.”

 Spokeo, Inc. v. Robins, 578 U.S. 330, 136 S. Ct. 1540 (2016).

        When Plaintiffs and Defendants entered into the Settlement Agreement, subsequently

 approved by the Court, they neglected to adequately define the class so as to ensure that every

 class member had Article III standing, arising from concrete injury and harm. i.e., they defined

 the settlement class as: “All persons, businesses, and other entities that have accepted any

 Visa-Branded Cards and/or MasterCard-Branded Cards in the United States at any time from

 January 1, 2004 to January 25, 2019.” They failed to include a final clause “and were damaged

 thereby.” On its face that is a constitutional error because “No concrete harm, no standing.”

 Transunion LLC v. Ramirez, 141 S. Ct. 2190 at 2214 (2021). (emphasis added)

        As Cost-Plus Direct Purchasers under Illinois Brick's Cost-Plus exception to the Indirect

 Purchaser rule, Proposed Intervenors are class members with Article III standing because: during

 the Class Period, they accepted Visa and MasterCard Payment Cards from customers for

 payment at the gas pumps, and in their respective convenience stores; and they paid both the

 Interchange Fee and the Merchant Discount Fee as one of the included costs, paid on a Cost-Plus


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  basis to their Oil Distributors.

          Class Counsel, the putative class members who are Oil Distributers, have taken the

  position with the Court that the Proposed Intervenors, and all of the other Retail Gas Stations, are

  not Illinois Brick direct purchasers, and, as a result, do not have a legally cognizable injury and

  therefore lack standing to pursue their claims under the Sherman Act5.

          As a matter of law Class Counsel, the putative class members who are Oil Distributers,

  and the putative class members who are Franchisors are incorrect because, they have not taken

  into account the Supreme Court’s Cost-Plus Direct Purchaser exception to the Direct Purchaser

  rule set forth by Justice White6 in Illinois Brick.

          At all times during the Class Period, irrespective of whether an Oil Distributors, or a third

  party Payment Card processor on their behalf, processed the Proposed Intervenors Visa and

  MasterCard Payment Card transactions, it was the Proposed Intervenors that paid the Interchange

  Fee and the Merchant Discount Fee, on each and every Payment Card transaction - as one of the

  costs included in their Cost-Plus contracts with their Oil Distributors.



          5
            THE COURT: Is that always the case, or is that just it depends on the relationship
  between the franchisee and franchisor? FHT, page 15, line 24- page, 16, line1.
            ...
           MR. BACHARACH: In any industry where the supplier has the ability to insure their
  payment by factoring the payments from their customer in my case because the oil distributor
  sees my client, Jack Kidd, as their customer or franchisor or sees the dollar store owner as their
  franchisee/customer, ... FHT, page 16, lines 8-13
          6
           Justice White first delineated the Cost-Plus Direct Purchaser exception to the Indirect
  Purchaser rule in Hanover Shoe v. United Shoe Mach. Corp., 392 U.S. 481 at 494, 88 S. Ct. 2224
  (1968). (We recognize that there might be situations -- for instance, when an overcharged buyer
  has a pre-existing "cost-plus" contract, thus making it easy to prove that he has not been damaged
  -- where the considerations requiring that the passing-on defense not be permitted in this case
  would not be present.)

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         The Court’s expressed intention to sort out the competing claims by empowering a

  Special Master to determine who “owns” any competing claims will not resolve the

  constitutional problem with the Settlement created by the constitutionally defective class

  definition.

         Pursuant to an Article III standing analysis, there are no competing claims for the same

  dollars between the Proposed Intervenors, and all others similarly situated class members, who

  are Illinois Brick Cost-Plus Direct Purchasers and the Oil Distributors, who are not class

  members because they have no concrete injury or damages, and thus, they have no Article III

  standing.

         In light of the constitutional standing issue involved, which to date has been ignored by

  Class Counsel and the Defendants, the Proposed Intervenors seek to intervene to protect their

  constitutional rights, and the constitutional rights of all other similarly situated Retail Gas Station

  class members, who are Illinois Brick Cost-Plus Direct Purchasers.

         The Proposed Intervenors are entitled to intervene because of the express failure of Class

  Counsel and all of the Named Plaintiffs to represent the interests of the Proposed Intervenors,

  and all other similarly situated Retail Gas Station class members, who are Illinois Brick Cost-

  Plus Direct Purchasers.

         Furthermore, pending the Court’s resolution of the Article III standing issue, and in

  consideration of the colossal effect that this issue will have on the distribution of the settlement

  res, it is respectfully suggested that no funds be distributed to class members pending final

  resolution of the Retail Gas Station owners verses Oil Distributers standing issue.

         Wherefore, the Proposed Intervenors seek to intervene as of right, pursuant to Rule 24(a),


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  Fed. R. Civ. P., or with the Court's permission, pursuant to Rule 24(b), Fed. R. Civ. P.

  Intervention is necessary because of the express failure of Class Counsel and all of the Named

  Plaintiffs to represent their interests of the Proposed Intervenors and all other similarly situated

  Retail Gas Station class members who are Illinois Brick Cost-Plus Direct Purchasers.

                      MEMORANDUM IN SUPPORT OF PROPOSED
                INTERVENORS, JACK RABBIT, LLC, AND 280 STATION
             LLC’s (D/B/A/ COWBOYS), RENEWED MOTION TO INTERVENE

                        INTRODUCTION/PRELIMINARY STATEMENT

          In Hanover Shoe, Inc. v. United Shoe Machinery Corp., 392 U.S. 481, 88 S. Ct. 2224, 20

  L. Ed. 2d 1231 (1968) ("Hanover Shoe") and Illinois Brick Co. v. Illinois, 431 U.S. 720, 97 S. Ct.

  2061, 52 L. Ed. 2d 707 (1977) ("Illinois Brick") the US Supreme Court created a bright line rule

  ("the Illinois Brick rule") to simplify determining damages in antitrust actions where an

  anti-competitively priced product sold by the manufacturer, may be sold, and resold, numerous

  times down the chain of distribution, linking the manufacturer to the ultimate consumer.

          The Illinois Brick rule provides that for simplicity and manageability courts will presume

  that the antitrust injury, arising out of the purchase of an anticompetitively priced product, is only

  suffered by the first purchaser who is directly injured by the purchase; and delineated as the

  Direct Purchaser. Everyone else down the economic chain of distribution is ignored; those

  purchasers are delineated as the Indirect Purchasers. Thus, pursuant to Illinois Brick the proper

  antitrust plaintiff is, almost always, the first purchaser.

          However, there is a major exception to the "almost always" first purchaser simplicity of

  the Illinois Brick rule. That exception applies when the first purchaser has avoided antitrust-

  injury by having previously contracted to sell the product or service to a customer on a Cost-Plus


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  basis. i.e., Illinois Brick provides that whenever the first purchaser, in this matter the Oil

  Distributor, is unaffected economically by the manufacturer or service provider’s anticompetitive

  pricing - because their Customer/ Retailer is contractually obligated to absorb all of the first

  purchaser's costs - plus an agreed profit - the first purchaser's Customer/Retailer becomes the

  Cost-Plus Direct Purchaser because they are the first party directly injured by the manufacturer or

  service provider’s anticompetitive pricing.

          In Illinois Brick the Supreme Court reasoned that because the Cost-Plus Customer/

  Retailer, and not the, first purchaser, in this matter the Oil Distributor, has suffered the concrete

  injury or harm, it is the Cost-Plus Customer/Retailer who has sustained the antitrust injury;

  which in turn gives rise to the Cost-Plus Customer/Retailer’s Article III standing. As a result, the

  Cost-Plus Customer/Retailer, as a Cost-Plus Direct Purchaser, becomes the proper plaintiff to

  pursue the antitrust defendant.

          In this matter, Proposed Intervenors, like 168,000 other class members that are Retail Gas

  Station Owners, who, during the Class Period, accepted VISA and MasterCard Payment Cards

  for payment at the pump, and in their respective convenience stores - and paid the Defendants’

  Interchange Fee and the Merchant Discount Fee as a cost included in their Cost-Plus contract

  with their Oil Distributors.

          As such, Proposed Intervenors, like 168,000 other class members that are Retail Gas

  Station Owners, are all Cost-Plus Direct Purchasers pursuant to the Cost-Plus contract exception

  to the Illinois Brick rule.

          The determination of which class members suffered the concrete injury or harm from any

  particular Payment Card transaction during the Class Period is problematic for the Court because


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  the Defendants have no knowledge of any Oil Distributor/ account holder’s Cost-Plus contracts7

  with the Retail Gas Stations, who accepted any VISA-Branded Cards and/or Mastercard-Branded

  Cards in the United States at any time during the Class Period. To the best of the Defendants’

  knowledge they were only charging illegal Interchange Fees to the Oil Distributors/ account

  holders, and not the Retail Gas Station Owners. Thus, the Court and the claims administrator

  cannot use the Defendant's records of Payment Card transactions to determine who sustained

  concrete injury or harm. Payment to Oil Distributers, who are class members as the class is

  defined, but who have not sustained concrete injury or harm is constitutionally prohibited by

  Article III.

                                      I.
                 PROPOSED INTERVENORS MEET THE REQUIREMENTS
                    FOR INTERVENTION AS A MATTER OF RIGHT


          Proposed Intervenors seek to intervene in these actions to protect their direct interests in

  their claims to the settlement proceeds as Cost-Plus Direct Purchasers who actually paid the

  Interchange Fee and the Merchant Discount Fee on their retail VISA and MasterCard Payment

  Card sales and thereby sustained concrete injury or harm. Proposed Intervenors easily meet the



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             MR. GALLO: My opinion in that case would be that it's whoever directly pays the fee
  to the acquirer. That's what I believe the planned administration says fairly read.
  I don't think we need to get into direct and indirect who has antitrust standing.
           THE COURT: That's kind of where we are, that's what the parties are fighting over.
  The suppliers are saying we made the payment, right, and so ultimately even if a Jack Rabbit paid
  it subsequently, it sounds like you're saying they don't have a
  claim.
           MR. GALLO: I agree that it's the first person, the person that paid the fee in the first
  instance, that's true as a made of what the plan of administration says. And I think it's also true
  as a matter of federal antitrust law. It's the person that paid directly that has the claim. I think
  both of those things are true. FHT, page 91, lines 4-20

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  four-part test required by Rule 24(a)(2) for applicants for intervention as of right. Under Rule

  24(a)(2), Proposed Intervenors motion must show that: (1) the application is timely; (2) it claims

  "an interest relating to the property or transaction which is the subject matter of the action;" (3) it

  is situated such that "disposition of the action may, as a practical matter, impair or impede [its]

  ability to protect [its] interests;" and, (4) its interest is "not adequately protected by an existing

  party." MasterCard Int'l Inc. v. Visa Int'l Serv. Ass'n, Inc., 471 F.3d 377, 389 (2d Cir.2006);

  accord St. John's Univ., New York v. Bolton, 450 Fed.Appx. 81, 83–84 (2d Cir.2011) (summary

  order).

            While the Proposed Intervenors must meet all four requirements to intervene as of right,

  "[a]pplication of the Rule requires that its components be read not discretely, but together."

  United States v. Hooker Chems. & Plastics Corp., 749 F.2d 968, 983 (2d Cir. 1984). Thus, for

  instance, as in this matter, wherein Class Counsel has created a constitutional problem for the

  class and this Court "[a] showing that a very strong interest exists may warrant intervention upon

  a lesser showing of impairment or inadequacy of representation," while, "[s]imilarly, where

  representation is clearly inadequate, a lesser interest may suffice as a basis for granting

  intervention." Id. "Doubts regarding the propriety of permitting intervention should be resolved

  in favor of allowing it, because this serves the judicial system's interest in resolving all related

  controversies in a single action." Sierra Club v. Robertson, 960 F.2d 83, 86 (8th Cir. 1992)

  (emphasis added). “A district court has broad discretion under Rule 24(b) to determine whether

  to permit intervention on the basis that the Intervenor’s ‘claim or defense and the main action

  have a question of law or fact in common.’” St. John's Univ., 450 Fed.Appx. at 84 (quoting Fed.

  R. Civ, P. 24(b)(2)).


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         Examination of the four factors reveals that Proposed Intervenors are timely seeking to

  protect direct interests that are imperiled by this litigation, are not otherwise adequately

  represented, and will, without intervention, leave their interests unprotected, into the future, by

  Class Counsel.

         A. THE PROPOSED INTERVENORS’ MOTION IS TIMELY

         "The determination of timeliness is in large part an equitable one, to be made based upon

  the totality of the circumstances" Hnot v. Willis Grp. Holdings, Ltd., 234 F. App'x 13, 14 (2d Cir.

  2007), and "defies precise definition, although it certainly is not confined strictly to chronology,"

  United States v. Pitney Bowes, Inc., 25 F.3d 66, 70 (2d Cir. 1994). The totality of circumstances,

  and the constitutional issue raised, demonstrates that the Proposed Intervenors' motion is timely.

         Bringing the constitutional issue created by Class Counsel and the Defendants to the

  attention of the Court, and again moving to intervene to protect class members who have suffered

  Article III concrete injury and harm from the claims of definitional class members who lack

  Article III standing is timely for an number of reasons. First, this motion is being circulated to all

  parties within 61 days from the date of the 2nd Circuit’s July 8,2022 Certified Order to this Court

  (ECF 8702), and within 51 days of this Court’s entry of a responsive Memorandum & Order

  (ECF 8704) on July 18, 2022.

         That Memorandum & Order triggered the filing of this motion. The Proposed Intervenors

  believe that the constitutional Article III standing issue must be resolved prior to the appointment

  of a special master; and that without their intervention, experience8 shows neither Class Counsel



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            THE COURT: So why hasn't anyone made a motion for the Court to decide this as a
  legal issue? FHT, page 15, lines 33-14.

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  or the Defendants will do so. This is especially concerning in light of the possibility that the 2nd

  Circuit may, based on their July 8,2022 Certified Order to this Court (ECF 8702), take a pass on

  deciding any significant issue on appeal, and remand this matter for further proceedings. This

  would place the Proposed Intervenors, and all other similarly situated Retail Gas Station

  classmembers, before this Court without adequate, or any, representation. With intervention, the

  Proposed Intervenors will be assured that no settlement funds will be distributed before this

  Court decides the constitutional Article III standing argument, as required by Transunion LLC v.

  Ramirez, 141 S. Ct. 2190 (2021) ("Every class member must have Article III standing in order to

  recover individual damages. ‘Article III does not give federal courts the power to order relief to

  any uninjured plaintiff, class action or not.' ... “No concrete harm, no standing.” ) and Spokeo,

  Inc. v. Robins, 578 U.S. 330, 136 S. Ct. 1540 (2016) (“Article III standing requires a concrete

  injury even in the context of a statutory violation."). Granting intervention would also reinforce

  the Court’s position as a neutral umpire.

          Uninjured class members, i.e., the Oil Distributor beneficiaries of their Cost-Plus

  contracts with Retail Gas Stations, can not be prejudiced, as they have not suffered concrete

  injury and harm. "The most important criterion in determining timeliness is whether the delay in

  moving for intervention has prejudiced any of the existing parties." Miller v. Silbermann, 832 F.

  Supp. 663, 669 (S.D.N.Y. 1993). Absent such prejudice, a motion will generally be deemed

  timely. Id.

          Because the issue of Article III standing cannot be waived by the federal courts, Proposed

  Intervenors are not seeking to re-litigate any issue that has already been decided in this matter.

  Bringing the Article III standing issue once again to the attention of the Court will not add new or


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  collateral issues. To the contrary, intervention will add to the focus and assist moving forward in

  light of this Court’s July 18, 2022 Memorandum & Order (ECF 8704) finding the previously

  entered Final Approval Order to be a partial final judgment in accordance with Rule 54(b) of the

  Federal Rules of Civil Procedure. Cf. Smith v. Marsh, 194 F.3d 1045, 1051 (9th Cir. 1999)

  (denying motion to intervene when proposed intervenors sought to introduce new issues thus

  causing delay and prejudice to existing parties); Wash. Elec. Coop., Inc. v. Mass. Mun. Wholesale

  Elec. Co., 922 F.2d 92, 97 (2d Cir. 1990) (denying motion to intervene when intervention would

  radically alter scope of lawsuit and inject collateral issues). The focus of the Proposed

  Intervenors is congruent with the Court’s constitutional Article III classmember standing

  obligations. Therefore, in the absence of any prejudice to the existing parties, Proposed

  Intervenors' motion should be deemed timely.

         In addition to the primary question of whether existing parties have been prejudiced by

  any delay, another factor to be considered in determining timeliness includes the prejudice to the

  Proposed Intervenors, and all other similarly situated Retail gas Station class members, who have

  Article III standing - arising out of their concrete injury and harm - if the motion is denied. Pitney

  Bowes, 25 F.3d at 70. Furthermore, in the context of a motion to intervene as of right, a showing

  that Proposed Intervenors otherwise qualified to intervene, militates in favor of a finding of

  timeliness. LaRouche v. Fed. Bureau of Investigation, 677 F.2d 256, 258 (2d Cir. 1982).

  Currently this antitrust litigation focuses squarely on the recovery that class members with

  Article III standing are due under the settlement. If the Proposed Intervenors are not permitted to

  intervene, and the litigation continues in their absence, the potential constitutionally infirm

  resulting inconsistent - an unconstitutional - determinations of entitlement to settlement


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  proceeds will result in appeals of the constitutional standing issue. The potential prejudice to the

  Proposed Intervenors, and all other similarly situated class members, who have Article III

  standing - arising out of their concrete injury and harm - is highlighted by the lack of advocacy

  specific to their interests leading to settlement. Without explicit representation the Proposed

  Intervenors, and all other similarly situated class members, who have Article III standing - arising

  out of their concrete injury and harm - will be subject to a prejudicial conflict under the

  settlement's terms and definitions without being provided a constitutionally mandated

  requirement that class members have Article III standing to recover from the settlement res.

         B. PROPOSED INTERVENORS' INTERESTS IN THESE PROCEEDINGS ARE
           DIRECT AND SUBSTANTIAL AND MAY BE IMPAIRED ABSENT THEIR
         INVOLVEMENT

         Proposed Intervenors' interests in these proceedings are, without question, "direct,

  substantial, and legally protectable." Wash. Elec. Coop., 922 F.2d at 97. Proposed Intervenors

  have a direct interest in the subject matter: their claim to the settlement proceeds for their

  acceptance of Visa and MasterCard Payment Cards and their payment of the related interchange

  charges pursuant to their Cost-Plus contracts with their Oil Distributors. This interest is

  heightened by the fact that if Proposed Intervenors' interests, and the interests of all other

  similarly situated Retail gas Station class members, who have Article III standing - arising out of

  their concrete injury and harm - who are not being adequately represented by Class Counsel, who

  to date have shown no interest in the Article III standing issue, as it pertains to class members;

  even whether definitional class members - such as the Oil Distributors - have suffered concrete

  harm or injury. Proposed Intervenors' interests are, and will continue to be, threatened if they are

  not permitted to appear in these proceedings because the Oil Distributers and the Defendants


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  have already expressed a bias at the Fairness Hearing regarding how they interpret which class

  members will be able to recover under the settlement. In any event, Class Counsel’s suggestion

  to appoint a special master and wait-and-see approach does not sufficiently cover Proposed

  Intervenors, and all other similarly situated Retail Gas Station class members’ constitutionally

  protected interests.

        C. PROPOSED INTERVENORS' INTERESTS WILL BE INADEQUATELY
       REPRESENTED IF THEY ARE NOT PERMITTED TO INTERVENE.

         If Proposed Intervenors are not permitted to intervene, the existing parties to the litigation

  will not adequately represent their interests. The Supreme Court has described the burden of

  showing inadequate representation as "minimal" and has made clear that a proposed intervenor

  need only show that representation "may be inadequate." Trbovich v. United Mine Workers, 404

  U.S. 528, 538 n.10 (1972) (emphasis added); see also LaRouche, 677 F.2d at 258. As a result,

  "[t]he proposed intervenors need show only that there is a potential for inadequate

  representation." Grutter v. Bollinger, 188 F.3d 394, 400 (6th Cir. 1999). "The possibility that the

  interests of the applicant and the parties may diverge need not be great in order to satisfy this

  minimal burden." Utah Ass'n of Counties, 255 F.3d at 1254 (internal quotation marks omitted).

         Lead to constitutional error by Class Counsel and the Defendants, this Court has

  previously stated that Class Counsel's duty will run only to whatever entity ultimately wins the

  dispute over the right to settlement funds. [D.E. 7363, Prelim. Appr. Order at 30 ("Class Counsel

  and Class Plaintiffs are not responsible to, and do not represent, the entity that loses the dispute

  over the right to claim settlement funds.")]. But pursuant to Transunion LLC v. Ramirez, 141 S.

  Ct. 2190 (2021), “Every class member must have Article III standing in order to recover

  individual damages. ‘Article III does not give federal courts the power to order relief to any

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  uninjured plaintiff, class action or not.’ Tyson Foods, Inc. v. Bouaphakeo, 577 U. S. 442, 466,

  136 S. Ct. 1036, 194 L. Ed. 2d 124 (2016). ... No concrete harm, no standing.” (emphasis

  added)

           The Court must resolve the Article III standing issue before a special master can

  determine actual competing claims - should any exist - between two, or more, class members

  who each have Article III standing with regard to the same Payment Card transaction.

           Unlike Class Counsel or the Defendants, the Proposed Intervenors are prepared to provide

  the necessary representation to develop a mechanism to be used to determine who has the Article

  III standing necessary to contested a claim. See In re Enron Corp. Securities, Derivative & Erisa

  Litigation, 2004 WL 405886, (S.D. Tex. 2004) “The Fifth Circuit Court of Appeals has approved

  the addition of plaintiffs to better represent potential subclasses where the named plaintiffs were

  not inadequate representatives.” Additionally, to date, none of the named plaintiffs who have

  similar Article lII standing based on Cost-Plus contracts have brought the constitutional issue

  governing distribution of the settlement res to this Court’s attention; despite actual knowledge of

  the Proposed Intervenors constitutional issue.

                                  II.
          IN THE ALTERNATIVE, PROPOSED INTERVENORS MEET THE
       REQUIREMENTS FOR PERMISSIVE INTERVENTION UNDER RULE 24(B)

           In the alternative, Proposed Intervenors should be allowed to intervene pursuant to Rule

  24(b), which provides: "Upon timely application anyone may be permitted to intervene in an

  action . . . (2) when an applicant's claim or defense and the main action have a question of law or

  fact in common" and the intervention will not "unduly delay or prejudice the adjudication of the

  rights of the original parties." As a general rule, "[p]ermissive intervention is accorded the broad


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  discretion of the court and is to be liberally granted." Miller v. Silbermann, 832 F. Supp. 663, 673

  (S.D.N.Y. 1993) (internal quotation marks and citations omitted). Under Rule 24(b) there is no

  requirement that a proposed intervenor demonstrate inadequate representation of its interests by

  existing parties. See e.g. Commack Self-Serv. Kosher Meats, Inc. v. Rubin, 170 F.R.D. 93, 106

  (E.D.N.Y. 1996); New York v. Abraham, 204 F.R.D. 62, 66–67 (S.D.N.Y. 2001).

         For the reasons set out above, the instant motion is timely. And, as set out above,

  intervention will not prejudice the adjudication of the constitutional rights of the existing parties.

  In considering the Purposed Intervenors’ request for permissive intervention, this Courts may

  properly consider “whether parties seeking intervention will significantly contribute to full

  development of ... the legal questions presented.” United States Postal Serv. v. Brennan, 579

  F.2d 188, 191–92 (2d Cir. 1978) (quoting Spangler v. Pasadena City Bd. of Educ., 552 F.2d

  1326, 1329 (9th Cir. 1977). The "just and equitable adjudication of the legal questions

  presented," id., requires the presence of Proposed Intervenors in this matter.

         Thus, even if this Court should find intervention as of right inappropriate in this case, it

  should grant permissive intervention under Rule 24(b).

                                            CONCLUSION

         For all of the foregoing reasons, Proposed Intervenors Jack Rabbit, LLC and 280 Station

  LLC (d/b/a/ Cowboys) are entitled to participate in this matter as Plaintiff-Intervenors to ensure

  that the claims administrator and the special master do not distribute any funds until after this

  Court resolves the Article III standing issue, either as a matter of right pursuant to Fed. R. Civ. P.

  Rule 24(a) or permissively pursuant to Fed. R. Civ. P. Rule 24(b)




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   Dated this 7th day of September, 2022.            Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 7th day of ASeptember, 2022, a true and correct copy

  of the foregoing MOTION FOR LEAVE TO INTERVENE AND MEMORANDUM IN

  SUPPORT has been served by ( ) United States Mail; ( ) Hand Delivery; (X) E-mail to: Service

  List begins on Page 20




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